           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 1 of 61




 1

 2

 3

 4

 5

 6                         IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
      Robert Resendiz, a single man,                  NO. __________________
 9
                       Plaintiff,
10    v.                                              INDEX
11
      Maricopa County; Maricopa County
12    Correctional Health Services Medical
13    Director Jeffrey Alvarez; Richard
      Friedman, MD (CH102); Rachel Fisher
14    PA (CH245); Candice Kaiser NP
15
      (1657H); RN 1004H; Grant Phillips MD
      (CS108); R. Avalos PAC (1632H); John
16    and Jane Does and Entities I-X,
17
                  Defendants.
18

19
     Exhibit:

20          (A) Civil Cover Sheet
21
            (B) State Court Record
22
                Attachments:
23              1. Supplemental Cover Sheet
24
                2. Recent State Court Docket
                3. Complaint
25              4. Service Documents
                5. Remainder of the State Court Record
26
                6. Verification of Sherle R. Flaggman
27

28          (C) Superior Court Notice of Removal to the Federal District Court




                                                -1-
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 2 of 61




                   EXHIBIT A
                      Civil Cover Sheet
                           (AO Form JS-44)
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 3 of 61




                   EXHIBIT B
                   State Court RecordAttachments:
                   1.   Supplemental Cover Sheet
                   2.   Recent State Court Docket
                   3.   Complaint
                   4.   Service Documents
                   5.   Remainder of the State Court Record
                   6.   Verification of Angela D. Lane
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 4 of 61




                 Attachment 1
                 Supplemental Civil Cover Sheet
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 5 of 61




                 Attachment 2
                    Recent State Court Docket
6/6/22, 8:43 AM   Case 2:22-cv-00974-MTL--CDB Civil
                                               Document        1-3 Filed
                                                    Court Case Information     06/06/22
                                                                           - Case History Page 6 of 61

      Language
  Select  Docket
 Powered by       Translate




        Civil Court Case Information - Case History

      Case Information
      Case Number:     CV2021-096050             Judge:      Hopkins, Stephen
      File Date:       12/29/2021                Location:   Southeast
      Case Type:       Civil

      Party Information
      Party Name                                                          Relationship         Sex             Attorney
      Robert Resendiz                                                     Plaintiff            Male            Keith Knowlton
      Jeffrey Alvarez                                                     Defendant            Male            Pro Per
      Richard Friedman                                                    Defendant            Male            Pro Per
      Rachel Fisher                                                       Defendant            Female          Pro Per
      Candice Kaiser                                                      Defendant            Female          Pro Per
      R N 1004h                                                           Defendant                            Pro Per
      Grant Phillips                                                      Defendant            Male            Pro Per
      R Avalos                                                            Defendant            Unknown         Pro Per
      Maricopa County                                                     Defendant                            Pro Per
      Correctional Health Services                                        Defendant                            Pro Per
      Maricopa County Board Of Supervisors                                Defendant                            Pro Per


      Case Documents
      Filing Date          Description                                                           Docket Date         Filing Party
      5/9/2022             AFS - Affidavit Of Service                                            5/18/2022
      NOTE: MARICOPA COUNTY BOARD OF SUPERVISORS
      4/14/2022            AFS - Affidavit Of Service                                            4/17/2022
      NOTE: GRANT PHILLIPS
      4/12/2022            AFS - Affidavit Of Service                                            4/20/2022
      NOTE: MARICOPA COUNTY
      4/12/2022            AFS - Affidavit Of Service                                            4/20/2022
      NOTE: R AVALOS
      4/12/2022            AFS - Affidavit Of Service                                            4/20/2022
      NOTE: CANDICE KAISER NP
      4/12/2022            AFS - Affidavit Of Service                                            4/20/2022
      NOTE: RN 1004H
      4/12/2022            AFS - Affidavit Of Service                                            4/20/2022
      NOTE: JEFFREY ALVAREZ
      4/5/2022             375 - Case on Dismissal Calendar                                      4/5/2022
      3/28/2022            MXS - Motion To Extend Time For Service                               3/31/2022
      NOTE: PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO SERVE DEFENDANTS
      3/9/2022             322 - ME: Notice Of Intent To Dismiss                                 3/9/2022
      12/29/2021           COM - Complaint                                                       12/29/2021
      NOTE: Complaint
      12/29/2021           CSH - Coversheet                                                      12/29/2021
      NOTE: Civil Cover Sheet
      12/29/2021           CCN - Cert Arbitration - Not Subject                                  12/29/2021
      NOTE: Certificate Of Compulsory Arbitration - Is Not Subject To
      12/29/2021           SUM - Summons                                                         12/29/2021
      NOTE: Summons
      12/29/2021           SUM - Summons                                                         12/29/2021
      NOTE: Summons
      12/29/2021           SUM - Summons                                                         12/29/2021

www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=CV2021-096050+                                        1/2
6/6/22, 8:43 AM   Case 2:22-cv-00974-MTL--CDB Civil
                                               Document        1-3 Filed
                                                    Court Case Information     06/06/22
                                                                           - Case History Page 7 of 61
      NOTE: Summons
      12/29/2021          SUM - Summons                                                        12/29/2021
      NOTE: Summons
      12/29/2021          SUM - Summons                                                        12/29/2021
      NOTE: Summons
      12/29/2021          SUM - Summons                                                        12/29/2021
      NOTE: Summons
      12/29/2021          SUM - Summons                                                        12/29/2021
      NOTE: Summons
      12/29/2021          SUM - Summons                                                        12/29/2021
      NOTE: Summons


      Case Calendar
      There are no calendar events on file


      Judgments
      There are no judgments on file




www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=CV2021-096050+                2/2
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 8 of 61




                 Attachment 3
                           Complaint
           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  9 of
                                                                     Clerk ofthe
                                                                              61Superior Court
                                                                            *** Electronically Filed ***
                                                                                  D. Hill, Deputy
                                                                              12/29/2021 1:02:27 PM
                                                                                Filing ID 13764149
     Keith M. Knowlton - SBN 011565
1
     Keith M. Knowlton, L.L.C.
2    9920 S. Rural Road, Suite 108, PMB# 132
     Tempe, Arizona 85284-4100
3    (480) 755-1777; FAX (480) 471-8956
     Attorney for Plaintiff
4

5                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
6                           IN AND FOR THE COUNTY OF MARICOPA
7

8
     Robert Resendiz,
9
                         Plaintiff,
10                                                                COMPLAINT
     vs.
11                                                                CV2021-096050
     Maricopa County, Maricopa County                             42 U.S.C. § 1983
12
     Correctional Health Services Medical Director
13   Jeffrey Alvarez; Richard Friedman, MD                     Jury Trial Demanded
     (CH102); Rachel Fisher PA (CH245); Candice
14   Kaiser NP (1657H); RN 1004H; Grant Phillips
     MD (CS108); R. Avalos PAC (1632H) John &
15   Jane Does and Entities I-X,
16
                         Defendants.
17

18

19          COMES NOW Plaintiff Robert Resendiz (“Resendiz”), through undersigned

20   counsel, as and for his Complaint against Defendants, alleges as follows:

21
                                       JURISDICTION AND VENUE
22

23   1.     Plaintiff has completed the grievance process and therefore can pursue claims
24   against Defendants under 42 U.S.C. § 1983.

25   2.     This Court has jurisdiction and venue over this matter and the parties.
           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 10 of 61




1

2                                                   PARTIES
3    3.      Plaintiff, Robert Resendiz (“Resendiz”) is, and was at all times relevant, a naturally

4
     born citizen of the United States and resident of Maricopa County, Arizona.
     4.      Maricopa County, a body politic of the State of Arizona.
5
     5.      Maricopa County Correctional Health Services is a non-jural entity of Maricopa
6
     County and provides medical care and treatment to inmates in the Maricopa County jail
7
     system. .
8
     6.      Defendant Maricopa County Correctional Health Services Medical Director Jeffrey
9
     Alvarez (“Alvarez”) is the Chief Executive Officer of Maricopa County Correction Health
10   Serviced (“CHS”) and is being sued in his official capacity.
11   7.      Defendants Richard Friedman, MD (CH102), Rachel Fisher PA (CH245), Candice Kaiser
12   NP (1657H), RN 1004H, Grant Phillips MD (CS108) and R. Avalos PAC (1632H) are at all
13   relevant times, employees of CHS and caused events to occur in Maricopa County out of
14   which this complaint arose.
15                                      JURY TRIAL REQUEST

16   8.      Plaintiff requests a jury trial.
                                          FACTUAL ALLEGATIONS
17
     9.      Plaintiff incorporated herein by this reference all the preceding numbered
18
     paragraphs.
19
     10.     On June 5, 2019, Resendiz while incarcerated at the Lower Buckeye Jail was
20
     removed from his cell to attend court. Resendiz has a keep away order from a known
21
     violent detainee who goes by the name of “Rusty.” Inmate Rusty and Plaintiff were
22   placed in the same holding cell after coming back from Court and got into a inmate on
23   inmate fight.
24   11.     Resendiz was seen by the medical provider at the jail after he got back to his cell
25   for an evaluation on 6/5/19 following the assault.



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1    12.      Resendiz complained of pain in the left ear and right jaw.
2    13.      Exam of left ear showed no hemotympanum or TM perforation, and there was

3    some tenderness to palpation of the right jaw.
     14.      Plaintiff was sent to the hospital emergency room for evaluation o fhis head andC-
4
     Spine.
5
     15.      Resendiz was hit with fists to his left ear, nose, left lower lip, left chin and right
6
     jaw.
7
     16.      On June 13, 2019 Resendiz continued to experienced residual swelling and
8
     decreased ROM of his left ring finger PIPJ area.
9
     17.      He also has a small residual red raised bump where his right ring finger struck the
10   other inmate's mouth.
11   18.      He was seen by Defendant Richard Friedman MD who assessed “sprain left ring
12   finger PIPJ.”
13   19.      Diagnosis of Plaintiff’s injury to his finger, swelling and inability to bend the
14   fingertip was due to a fingertip sprain.

15   20.      Plaintiff was ultimately diagnosed with a “Jersey Finger” injury.
     21.      If there are symptoms of a Jersey Finger, the person should see a doctor and if
16
     surgery is needed, it should be performed within approximately ten days of the injury to
17
     ensure a good recovery.
18
     22.      Physical examination is usually sufficient to diagnose a Jersey Finger.
19
     23.      Plaintiff was not seen again by medical until July 19, 2019 when he was seen by
20
     PAC MD CH245, Rachel Fisher.
21
     24.      Dr. Fisher documented that Plaintiff complained of left hand pain since June and
22   cannot bend the 4th finger due to weakness. He further stated he has numbness of the
23   palm and cannot grip things well. Resendiz complained of continued pain to left right
24   finger at the distal joint with decreased ROM.
25   25.      Dr. Fisher documented that Plaintiff was unable to actively bend R 4th DIP joint.



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           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 12 of 61




1    26.     Dr. Fisher ordered an MRI of the left hand.
2    27.     On July 19, 2019, PA-C CH245, Dr Grant Phillips posted a referral for left hand

3    MRI reviewed. Stated will refer to hand clinic eval. May consider MRI referral based on
     evaluation by hand specialist.
4
     28.     ON August 1, 2019, over two months from the injury, NP 1657ah, Candic Karse
5
     documented an Alert received: “the Offsite services that you have requested are
6
     unavailable within requested timeframe. Client has been booked into the first available
7
     appointment.” “Follow up with hand as scheduled.”
8
     29.     On August 22, 2019, NP 1657H Candice Karse again documented: Alert received:
9
     “the Offsite services that you have requested are unavailable within requested timeframe.
10   Client has been booked into the first available appointment.” “Follow up with hand as
11   scheduled.”
12   30.     On August 27, 2019, RN2242H documented a HNR requesting information
13   regarding MRI and tht Patient has appointment with provider to go over these results.
14   HNR canceled.

15   31.     On August 27, 2019, RN 1004H, documented that Plaintiff “need to follow up with
     hand clinic or permanent damaged to the Joint can occur.”
16
     32.     On September 11, 2019, guards came to his cell to take him out of the cell and did
17
     not and would not tell him why unless he refused to go. He therefore not knowing why
18
     refused to go and they walked away. He did not know he was being called out to go the
19
     hand specialist and requested it be rescheduled. It was rescheduled but it would be 30
20
     days until he was seen by a provider. RN 2077H and RN 1004H.
21
     33.     On October 17, 2019 Plaintiff was seen by a hand specialist. He was diagnosed
22   with having a “Jersey Finger.”
23   34.     On November 7, 2019 the MRI of his left hand was completed and showed a
24   “complete tear of 4th digit flexor digitorum profundus tendon with retraction to level of
25   4th metacarpal.”



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1    35.     Plaintiff ended up having surgery on the finger on January 16, 2020 and had a
2    hunter rod placement.

3    36.     Plaintiff had a two stage repair because his injury was more than thirty days old.
     37.     The surgery did not fully resolve the issue.
4
     38.     Plaintiff is unable to bend his finger. When he tries to make a fist the left ring
5
     finger lays flat on his palm while the other fingers tuck in. When he ties his shoes, knead
6
     dough at work, grab things with his left hand he is unable to fully grip things due to his
7
     finger not closing.
8
     39.     Claims under 42 U.S.C. § 1983 are personal and a government entity is not
9
     respondeat superior liable for the acts of the entities employees unless the employee acted
10   pursuant to policy, practice, procedure, custom, guideline or the Deputies conduct was
11   ratified by the chief executive officer.
12   40.     In this case Resendiz asserts there has been a practice of not providing immediate
13   medical care and treatment of injuries such as his “Jersey Finger” that would reduce the
14   injury and increase the possibility of recovery.

15                                           COUNT ONE
16                                         (42 U.S.C. § 1983)
     41.     The allegations set forth above are fully incorporated herein by this reference.
17
     42.     In committing the above referenced actions and/or omissions and the following,
18
     the Defendants Richard Friedman, MD (CH102), Rachel Fisher PA (CH245), Candice Kaiser
19
     NP (1657H), RN 1004H, Grant Phillips MD (CS108) and R. Avalos PAC (1632H) (“Medical
20
     Provider Defendants”) acted under color of state law, and engaged in conduct that was the
21
     proximate cause of a violation of Plaintiff’s rights under the Fourth and Fourteenth
22   Amendments to the Constitution of the United States of America, including but not
23   limited to deliberate indifference to a known medical need, thereby violating Plaintiff’s
24   civil rights under 42 U.S.C. § 1983.
25   43.     Medical Provider Defendants proximately caused Plaintiff damages, including but



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           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 14 of 61




1    not limited to physical injuries, pain and suffering, permanent injuries and emotional
2    distress, in an amount to be proven at trial.

3    44.     The severity of Plaintiff’s finger injury was obvious from the beginning because he
     could not bend the finger and the need to get proper medical treatment to the finger
4
     quickly was necessary to assure a good outcome from the surgery.
5
     45.     The Medical Provider Defendants knew the injury required quick medical
6
     treatment and did not provide diagnosis or treatment within the first thirty days which
7
     resulted in a reduction in the possibility of obtaining full movement after surgery.
8
     46.     Pursuant to 42 U.S.C. § 1983, the Medical Provider Defendants are liable to
9
     Plaintiff for the above described violations of Plaintiffs Constitutional rights. Plaintiff is
10   entitled to all rights, remedies, in law or in equity, available to him under 42 U.S.C. §
11   1983.
12   47.
13   48.     The Supervisor Defendant, Alvarez, has set up a system where quick medical care
14   could not be provided by CHS to assure a quick treatment of Plaintiff’s injury by the

15   employees.
     49.     The practice and procedure of CHS in scheduling taking time to schedule follow
16
     ups and to assure proper diagnosis, even provisional diagnosis from outside medical
17
     providers, proximately caused Plaintiff not to have a good recovery and to have ongoing
18
     issues with his finger. The Supervisor Defendant alvarez and the Medical Provider
19
     Defendants, by the delay in treatment caused a worsening physical injury, pain and
20
     suffering and emotional distress all in an amount to be proven at trial.
21
     50.     The Supervisor Defendants took no disciplinary or corrective action at the time of
22   the grievance and covered up the practice and procedure of the Medical Provider
23   Defendants.
24   51.     Plaintiff is entitled to recover his reasonable costs and attorney’s fees under 42
25   U.S.C. §§ 1983, 1988.



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1    52.     Plaintiff is entitled to punitive damages.
2
                                               COUNT TWO
3                                             42 U.S.C. §1983
                                 (Unconstitutional Custom, Policy, Practice
4                                     Procedure and/or Ratification)
5
     53.     Plaintiff incorporates herein all the preceding numbered paragraphs.
6
     54.     Defendant Alvarez was at all relevant times the Chief Executive Officer of CUS.
7
     55.     The policy, practice and/or procedure of CHS caused a failure to diagnose Plaintiff
8
     early when he was sent to the emergency room for evaluation and thereafter delayed
9
     scheduling outside hand specialist to review the injury, diagnose the injury and quickly
10
     schedule surgery to assure the best possible outcome for Plaintiff.
11   56.     As the Chief Executive Officers of CHS, Alvarez has a non-delegable duty to
12   ensure the policies of the CHS are signed to timely meet the medical needs of the inmates
13   who have not been sentenced yet.
14   57.     Defendant Alvarez and his appointed supervisors took no action to assure that
15   Plaintiff’s finger was timely treated, causing a worsening of his condition that cannot be
16   corrected.

17
     58.     Defendant Alvarez ratified the conduct of the Medical Provider Defendants by
     taking no disciplinary action against the Medical Provider Defendants, by ratifying the
18
     Medical Provider Defendants conduct and/or taking no disciplinary action against them,
19
     Defendant Alvarez has created a practice and procedure that Medical Provider
20
     Defendants do not have to timely provide necessary medical care and treatment to
21
     inmates that is not life threatening.
22
     59.     This practice and procedure of impunity was the proximate cause of what
23   happened in this case.
24   60.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to attorneys fees and
25   punitive damages from Williams based on the above.



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           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 16 of 61




1    61.     Plaintiff is entitled to punitive damages.
2            WHEREFORE, Plaintiff demands the following relief, jointly and severally,

3    against Defendants as follows:
             A. Compensatory general and special damages in an amount according to proof
4
     at time of trial;
5
             B.   Attorneys fees;
6
             C.   Punitive damages;
7
             D. Compensatory Damages;
8
             E.   Costs of suit necessarily incurred herein;
9
             F.   Prejudgment interest according to proof; and
10           G.   Such further relief as the Court deems just and proper.
11

12           RESPECTFULLY SUBMITTED this 28th day of December, 2021.
13
                                                 KEITH M. KNOWLTON, L.L.C.
14

15                                                  /s/ Keith Knowlton
                                              By: ________________________________
16                                                  Keith M. Knowlton
17
                                                    Attorney for Plaintiff

18

19

20

21

22

23

24

25




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Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 17 of 61




                 Attachment 4
                        Service Documents
                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  18ofofthe61Superior Court
                                                                                                    Clerk
                                                                                                                 *** Electronically Filed ***
                                                                                                                       D. Hill, Deputy
                                                                                                                   12/29/2021 1:02:27 PM
                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764152
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Maricopa County

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

                                      1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
                                         served on you with this Summons.

                                      2. If you do not want a judgment taken against you without your input, you must file an
                                         Answer in writing with the Court, and you must pay the required filing fee. To file your
                                         Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
                                         Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
                                         approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
                                         Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
                                         of this Summons.
                                         Note: If you do not file electronically you will not have electronic access to the documents
                                         in this case.

                                      3. If this Summons and the other court papers were served on you within the State of
                                         Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
                                         date of service, not counting the day of service. If this Summons and the other court papers
AZturboCourt.gov Form Set #6401051




                                         were served on you outside the State of Arizona, your Answer must be filed within
                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 19 of 61




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: December 29, 2021

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: DENISE HILL
                                     Deputy Clerk



                                     Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
                                     the case by the party needing the interpreter and/or translator or his/her counsel at least ten (10) judicial days in
                                     advance of a scheduled court proceeding.
                                     If you would like legal advice from a lawyer, contact Lawyer Referral Service at 602-257-4434 or https://maricopabar.org. Sponsored by the Maricopa
                                     County Bar Association.
AZturboCourt.gov Form Set #6401051




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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  20ofofthe61Superior Court
                                                                                                    Clerk
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                                                                                                                       D. Hill, Deputy
                                                                                                                   12/29/2021 1:02:27 PM
                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764153
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Jeffrey Alvarez

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
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AZturboCourt.gov Form Set #6401051




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                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 21 of 61




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: December 29, 2021

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  22ofofthe61Superior Court
                                                                                                    Clerk
                                                                                                                 *** Electronically Filed ***
                                                                                                                       D. Hill, Deputy
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764154
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Richard Friedman, MD

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

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                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 23 of 61




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: December 29, 2021

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  24ofofthe61Superior Court
                                                                                                    Clerk
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                                                                                                                       D. Hill, Deputy
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764155
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Rachel Fisher PA

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
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                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 25 of 61




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                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: December 29, 2021

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  26ofofthe61Superior Court
                                                                                                    Clerk
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764156
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Candice Kaiser NP

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
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                                         service.
                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 27 of 61




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                                     SIGNED AND SEALED this Date: December 29, 2021

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  28ofofthe61Superior Court
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764157
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: RN 1004H

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
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                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 29 of 61




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                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  30ofofthe61Superior Court
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764158
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
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                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
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                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: Grant Phillips MD

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                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 31 of 61




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                                     By: DENISE HILL
                                     Deputy Clerk



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                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  32ofofthe61Superior Court
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 13764159
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
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                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Robert M Resendiz
                                      Plaintiff(s),                                          Case No. CV2021-096050
                                      v.
                                      Maricopa County, et al.                                SUMMONS
                                      Defendant(s).

                                     To: R. Avalos PAC (1632H)

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                                           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 33 of 61




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                                     By: DENISE HILL
                                     Deputy Clerk



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Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 34 of 61




                 Attachment 5
               Remainder of the State Court Record
                                             Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 35 of 61



                                                                                                    Clerk of the Superior Court
                                     In the Superior Court of the State of Arizona                  *** Electronically Filed ***
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                                     In and For the County of Maricopa                                12/29/2021 1:02:27 PM
                                                                                                        Filing ID 13764150


                                     Plaintiff's Attorney:
                                     Keith M Knowlton
                                     Bar Number: 011565, issuing State: AZ
                                     Law Firm: Keith M. Knowlton, LLC
                                     9920 S. Rural Road, Ste. 108 Pmb# 132                         CV2021-096050
                                     Tempe, AZ 85284
                                     Telephone Number: (480)755-1777
                                     Email address: keithknowlton@msn.com

                                     Plaintiff:
                                     Robert M Resendiz
                                     PO Box 3300
                                     Florence, AZ 85132
                                     Telephone Number: (602)692-6083
                                     Email address: keithknowlton@msn.com

                                     Defendants:
                                     Maricopa County
                                     Clerk of the Bd of Supervisors 301 E. Jefferson, 10th Floor
                                     Phoenix, AZ 85003

                                     Jeffrey Alvarez
                                     234 North Central, Suite 5100
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                                     Phoenix, AZ 85004

                                     Richard Friedman, MD
                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     Rachel Fisher PA
                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     Candice Kaiser NP
                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     RN 1004H

                                                                               Civil Cover Sheet
                                                                                  Page 1 of 2
                                             Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 36 of 61




                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     Grant Phillips MD
                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     R. Avalos PAC (1632H)
                                     234 North Central, Suite 5100
                                     Phoenix, AZ 85004

                                     Discovery Tier t3

                                     Case Category: Other Civil Case Categories
                                     Case Subcategory: 42 U.S.C. Sect. 1983
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                                                                             Civil Cover Sheet
                                                                                Page 2 of 2
                                         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  37ofofthe61Superior Court
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                                     Person/Attorney Filing: Keith M Knowlton                                      Filing ID 13764151
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
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                                                         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                                       IN AND FOR THE COUNTY OF MARICOPA

                                     Robert M Resendiz
                                     Plaintiff(s),                                          Case No. CV2021-096050
                                     v.
                                     Maricopa County, et al.                                CERTIFICATE OF
                                     Defendant(s).                                          COMPULSORY ARBITRATION

                                     I certify that I am aware of the dollar limits and any other limitations set forth by the
                                     Local Rules of Practice for the Maricopa County Superior Court, and I further certify that
                                     this case IS NOT subject to compulsory arbitration, as provided by Rules 72 through 77 of
                                     the Arizona Rules of Civil Procedure.


                                     RESPECTFULLY SUBMITTED this


                                                                       By: Keith M Knowlton /s/
                                                                            Plaintiff/Attorney for Plaintiff
AZturboCourt.gov Form Set #6401051
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 38 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 39 of 61
     Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page  40ofofthe61Superior Court
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                                                                           3/28/2022 1:47:36 PM
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 1    KEITH M. KNOWLTON, L.L.C.
      9920 S. Rural Road, Suite 108
 2    PMB# 132
      Tempe, Arizona 85284-4100
 3    (602) 692-6083
      FAX (480) 471-8956
 4    Attorney for Plaintiff
      Keith M. Knowlton - SBN 011565
 5    keithknowlton@msn.com
 6    Attorney for Plaintiff
 7
                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                         IN AND FOR THE COUNTY OF MARICOPA
 9
                                                          No. CV2021-096050
10    Robert Resendiz,

11                       Plaintiff,

12    vs.
13    Maricopa County, Maricopa County Correctional       PLAINTIFF’S MOTION FOR
      Health Services Medical Director Jeffrey Alvarez;   EXTENSION OF TIME TO SERVE
14    Richard Friedman, MD (CH102); Rachel Fisher         DEFENDANTS
      PA (CH245); Candice Kaiser NP (1657H); RN
15    1004H; Grant Phillips MD (CS108); R. Avalos
      PAC (1632H) John & Jane Does and Entities I-X,
16
                         Defendants
17
18
19           Plaintiff Robert Resendiz, (“Resendiz”) requests the Court extend the
20    deadline to serve Defendants in this case. Plaintiff has served all Defendants but
21    Richard Friedman and Grant Phillips through legal Liasson at Maricopa County
22    Correctional Health Services. Friedman and Phillips no longer work for
23    Correctional Health Services. Plaintiff is in the process of doing a skip trace on
24    Defendants Friedman and Phillips and needs additional time to locate them and
25    serve them. It appears Friedman has moved to Montana and Defendant Phillips is
26    now working for the Arizona Department of Corrections.
     Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 41 of 61




 1          Out of an abundance of caution, Plaintiff is requesting additional time to
 2    serve Maricopa County to assure no issue with service by Legal Liasson accepting
 3    service on the County’s behalf. If any issue arises Plaintiff will serve the County
 4    supervisor within this extension.
 5          WHEREFORE, Plaintiff requests an additional thirty (30) days from March
 6    28, 2022 to serve Defendants in this case to allow location and service of Dr.

 7    Friedman out of state and to locate Dr. Philips with the Department of Corrections.

 8                 RESPECTFULLY SUBMITTED this 28th day of March, 2022.
 9                                            KEITH M. KNOWLTON, L.L.C.
10
11                                            By       /s/ Keith Knowlton
                                                    Keith M. Knowlton, SBN 011565
12                                                  Attorney for Plaintiff
13
14
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                                                2
     Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 42 of 61
                                                             Clerk of the Superior Court
                                                             *** Electronically Filed ***
                                                                04/05/2022 8:00 AM
                          SUPERIOR COURT OF ARIZONA
                              MARICOPA COUNTY

CV 2021-096050                                          04/04/2022


                                                  CLERK OF THE COURT
HONORABLE STEPHEN M. HOPKINS                            C. Avena
                                                         Deputy



ROBERT RESENDIZ                             KEITH M KNOWLTON

v.

JEFFREY ALVAREZ, et al.                     JEFFREY ALVAREZ
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004



                                            R N 1004H
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            R AVALOS
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            MARICOPA COUNTY
                                            CLERK OF THE BOARD OF
                                            SUPERVISORS
                                            301 E JEFFERSON FL 10
                                            PHOENIX AZ 85003
                                            RACHEL FISHER
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            RICHARD FRIEDMAN
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            CANDICE KAISER
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            GRANT PHILLIPS
                                            234 N CENTRAL STE 5100
                                            PHOENIX AZ 85004
                                            JUDGE HOPKINS
Docket Code 375                    Form V000A                                 Page 1
    Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 43 of 61



                                SUPERIOR COURT OF ARIZONA
                                    MARICOPA COUNTY

 CV 2021-096050                                                          04/04/2022


                                        MINUTE ENTRY

      The Court has received Plaintiff’s request for additional time to serve the Summons and
Complaint. Good cause appearing,
       IT IS ORDERED extending the time to complete service to July 7, 2022.
       The Court has granted an extension of time for Plaintiff to serve the Complaint and
accompanying documents in this case which supersedes the original time computation for
dismissal on the Inactive Calendar. Therefore,
       IT IS FURTHER ORDERED placing this case on the Inactive Calendar for dismissal
without further notice on July 8, 2022 unless an Affidavit of Service of Process is filed before that
date indicating that service has been effected in accordance with the Arizona Rules of Civil
Procedure.




 Docket Code 375                             Form V000A                                        Page 2
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 44 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 45 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 46 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 47 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 48 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 49 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 50 of 61
Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 51 of 61




                  Attachment 6
                Verification of Sherle R. Flaggman
         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 52 of 61




1
                       VERIFICATION OF SHERLE R. FLAGGMAN
2

3
     STATE OF ARIZONA)
4
                             )ss.
5

6    County of Maricopa     )
7

8          I, Sherle R. Flaggman, declare under penalty of perjury that I am a Deputy County

9    Attorney with the Maricopa County Attorney’s Office, Civil Services Division and that the
10
     attached documents are true and complete copies of all pleadings and other documents filed
11

12
     in the state court proceeding Robert Resendiz v. Maricopa County et al., Maricopa County

13   Superior Court Case No. CV2021-096050.
14

15
                                       DATED this 6th day of June 2022.
16

17
                                       RACHEL H. MITCHELL
18                                     MARICOPA COUNTY ATTORNEY
19
                                       By /s/ Sherle R. Flaggman
20                                           SHERLE R. FLAGGMAN
                                             Deputy County Attorney
21

22

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Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 53 of 61




                   EXHIBIT C
 Superior Court Notice of Removal to the Federal District Court
           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 54 of 61




 1
     RACHEL H. MITCHELL
     MARICOPA COUNTY ATTORNEY
 2
     By:     SHERLE R. FLAGGMAN (019079)
 3
             ANGELA D. LANE (035963)
 4           Deputy County Attorneys
             flaggmas@mcao.maricopa.gov
 5           lanea01@mcao.maricopa.gov
 6
     CIVIL SERVICES DIVISION
 7   225 West Madison Street
 8   Phoenix, Arizona 85003
     Telephone (602) 506-8541
 9   Facsimile (602) 506-4317
10   ca-civilmailbox@mcao.maricopa.gov
     MCAO Firm No. 00032000
11

12
     Attorneys for Defendants Alvarez, Fisher,
     Kaiser, Jerrel, Avalos, Phillips & Maricopa
13   County
14              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
15                     IN AND FOR THE COUNTY OF MARICOPA
16
     Robert Resendiz, a single man,                No. CV2021-096050
17

18                     Plaintiff,
     v.                                            NOTICE OF FILING NOTICE OF
19                                                 REMOVAL
20
     Maricopa County; Maricopa County
     Correctional Health Services Medical
21   Director Jeffrey Alvarez; Richard             (Assigned to the Hon. Stephen Hopkins)
     Friedman, MD (CH102); Rachel Fisher
22
     PA (CH245); Candice Kaiser NP
23   (1657H); RN 1004H; Grant Phillips MD
     (CS108); R. Avalos PAC (1632H); John
24
     and Jane Does and Entities I-X,
25
                  Defendants.
26

27           TO THE CLERK OF THE COURT AND PLAINTIFF:
28
             PLEASE TAKE NOTICE THAT Defendants Alvarez, Fisher, Kaiser, Jerrel,



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          Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 55 of 61




 1
     Avalos, Phillips and Maricopa County, through undersigned counsel, hereby notify this

 2   Court that they are filing/have filed a Notice of Removal of this action to the United States
 3
     District Court for the District of Arizona.
 4
               A copy of the Notice of Removal without attachments filed today, June 6, 2022, is
 5

 6   attached hereto as Exhibit A.
 7              RESPECTFULLY SUBMITTED this 6th day of June 2022.
 8
                                                                 RACHEL H. MITCHELL
 9                                                               MARICOPA COUNTY ATTORNEY
10
                                                                 BY: s/Sherle R. Flaggman
11                                                                   SHERLE R. FLAGGMAN
                                                                     ANGELA D. LANE
12
                                                                     Deputy County Attorneys
13                                                                   Attorneys for Defendants Alvarez, Fisher,
                                                                     Kaiser, Jerrel, Avalos, Phillips &
14
                                                                     Maricopa County
15
                                               CERTIFICATE OF SERVICE
16

17          I hereby certify that on June 6, 2022, I caused the foregoing document to be
     electronically transmitted to the Clerk’s Office using the TurboCourt System for filing and
18   transmittal of a Notice of Electronic Filing to the following registrants:

19   Honorable Stephen Hopkins
20   Maricopa County Superior Court
     Southeast Facility – 2G/207
21   222 E. Javelina Ave.
22
     Mesa, AZ 85210

23   Keith M. Knowlton, Esq.
24
     KEITH M. KNOWLTON, L.L.C.
     9920 S. Rural Rd., Ste. 108, PMB #132
25   Tempe, AZ 85284-4100
     keithknowlton@msn.com
26
     Attorney for Plaintiff
27
     s/R. Scott
28   :\CIVIL\CIV\Matters\CJ\2022\Resendiz v. MC, et al. 2022\Pleadings\Removal\NOF NOR.docx




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Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 56 of 61




                   EXHIBIT A
           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 57 of 61




 1
     RACHEL H. MITCHELL
     MARICOPA COUNTY ATTORNEY
 2
     By:     SHERLE R. FLAGGMAN (019079)
 3
             ANGELA D. LANE (035963)
 4           Deputy County Attorneys
             flaggmas@mcao.maricopa.gov
 5
             lanea01@mcao.maricopa.gov
 6
     CIVIL SERVICES DIVISION
 7
     225 West Madison Street
 8   Phoenix, Arizona 85003
     Telephone (602) 506-8541
 9
     Facsimile (602) 506-4317
10   ca-civilmailbox@mcao.maricopa.gov
     MCAO Firm No. 00032000
11

12   Attorneys for Defendants Alvarez, Fisher,
     Kaiser, Jerrel, Avalos, Phillips & Maricopa
13   County
14

15                         IN THE UNITED STATES DISTRICT COURT
16                            FOR THE DISTRICT OF ARIZONA
17
     Robert Resendiz, a single man,                  NO. __________________
18
                       Plaintiff,
19
     v.                                              NOTICE OF REMOVAL OF
20                                                   MARICOPA COUNTY SUPERIOR
     Maricopa County; Maricopa County                COURT CASE NO. CV2021-096050
21   Correctional Health Services Medical            TO THE UNITED STATES
22   Director Jeffrey Alvarez; Richard               DISTRICT COURT
     Friedman, MD (CH102); Rachel Fisher
23   PA (CH245); Candice Kaiser NP
24   (1657H); RN 1004H; Grant Phillips MD
     (CS108); R. Avalos PAC (1632H); John
25   and Jane Does and Entities I-X,
26
                  Defendants.
27

28




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         Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 58 of 61




 1
            Defendants Alvarez, Fisher, Kaiser, Jerrel, Avalos, Phillips and Maricopa County,

 2   pursuant to 28 U.S.C. § 1331, §1441(c), §1446(a), and Rule 3.6, Local Rules Civil
 3
     Procedure for the District of Arizona, notice the removal of the above-captioned case, cause
 4
     number CV2021-096050, from the Arizona Superior Court, Maricopa County, to this
 5

 6   Court, and in support of removal assert the following:
 7
            1.     On or about December 29, 2021, Plaintiff filed a Complaint against
 8

 9   Defendants in the Superior Court of the State of Arizona for the County of Maricopa under
10   the caption Robert Resendiz v. Maricopa County, et al., Case No. CV2021-096050. A
11
     copy of the Complaint, and all other documents previously filed in this matter and served
12

13   on Defendants are attached hereto within Exhibit “B”. (Exhibit “A” is the Civil Cover

14   Sheet.)
15
            2.     The Complaint was served on Defendants Alvarez, Fisher, Kaiser, Jerrel, and
16

17
     Avalos on March 28, 2022. Defendant Phillips was served on April 11, 2022. Defendant

18   Maricopa County was served on May 5, 2022.
19
            3.     As of date of this removal, Defendant Friedman has not been properly served.
20
            4.     This Notice of Removal is being filed within 30 days after service of the
21

22   Complaint and is therefore timely filed under 28 U.S.C. § 1446(b).
23
            5.     The lawsuit filed in Maricopa County, among other claims, alleges the
24

25   violation of Plaintiff’s civil rights and is brought under 42 U.S.C. § 1983 for violations of
26
     the Fourth and Fourteenth Amendments of the United States Constitution.
27

28




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           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 59 of 61




 1
             6.    By reason of the above facts, (a) the United States District Court has original

 2   jurisdiction of this civil action pursuant to 28 U.S.C. § 1441(c). All served Defendants
 3
     consent to the removal of this action.
 4
             7.    A Notice of Filing of Notice of Removal, a true and correct copy of which is
 5

 6   attached as Exhibit “C,” has been filed in the Arizona Superior Court, County of Maricopa.
 7
             WHEREFORE, Defendants respectfully request that the above action now pending
 8
     in the Arizona Superior Court, Maricopa County, be removed to this Court.
 9

10            RESPECTFULLY SUBMITTED this 6th day of June 2022

11                                             RACHEL H. MITCHELL
                                               MARICOPA COUNTY ATTORNEY
12

13
                                               BY: s/Sherle R. Flaggman
14
                                                   SHERLE R. FLAGGMAN
15                                                 ANGELA D. LANE
                                                   Deputy County Attorneys
16
                                                   Attorneys for Defendants Alvarez, Fisher,
17                                                 Kaiser, Jerrel, Avalos, Phillips &
                                                   Maricopa County
18

19
                                   CERTIFICATE OF SERVICE
20

21          I hereby certify that on June 6, 2022, I caused the foregoing document to be
     electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
22   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
23
     Clerk of the Court
24   United States District Court
25
     Sandra Day O’Connor U.S. Courthouse
     401 W. Washington Street
26   Phoenix, AZ 85003-2161
27
     ///
28   ///



                                                  -3-
           Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 60 of 61




 1
     Keith M. Knowlton, Esq.
     KEITH M. KNOWLTON, L.L.C.
 2   9920 S. Rural Rd., Ste. 108, PMB #132
     Tempe, AZ 85284-4100
 3
     keithknowlton@msn.com
 4   Attorney for Plaintiff
 5

 6   s/R. Scott
     S:\CIVIL\CIV\Matters\CJ\2022\Resendiz v. MC, et al. 2022\Pleadings\Removal\NOR.docx
 7

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 Case 2:22-cv-00974-MTL--CDB Document 1-3 Filed 06/06/22 Page 61 of 61



From:                         TurboCourt Customer Service
Sent:                         Monday, June 6, 2022 9:28 AM
To:                           Rosemarie Sco ; Elena Padua
Subject:                      AZTurboCourt E-Filing Courtesy No ﬁca on


PLEASE DO NOT REPLY TO THIS EMAIL.

A party in this case requested that you receive an AZTurboCourt Courtesy No ﬁca on.

AZTurboCourt Form Set #6879860 has been delivered to Maricopa County - Superior Court.

You will be no ﬁed when these documents have been processed by the court.

Here are the ﬁling details:
Case Number: CV2021096050 (Note: If this ﬁling is for case ini a on, you will receive a separate
no ﬁca on when the case # is assigned.)
Filed By: Sherle Flaggman
AZTurboCourt Form Set: #6879860
Delivery Date and Time: Jun 06, 2022 9:27 AM MST

Forms:



A ached Documents:
No ce of Removal to Federal Court: NOTICE OF FILING NOTICE OF REMOVAL
Exhibit/A achment (Suppor ng): Exhibit A


E-Service no ﬁca on was sent to the following recipient(s):

Keith M. Knowlton, Esq at keithknowlton@msn.com
